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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 VICTOR DIMAIO,

               Plaintiff,

 v.                                                      CASE NO: 8:07-cv-1552-T-26MAP

 DEMOCRATIC NATIONAL
 COMMITTEE,

               Defendant.
                                           /


                                         ORDER

        Upon due consideration of the mandate of the Eleventh Circuit Court of Appeals

 returned this day at docket 27, it is ordered and adjudged as follows:

        1) The Court’s order of October 5, 2007, at docket 18, is amended to reflect that

 Plaintiff’s complaint is dismissed without prejudice.

        2) The Clerk’s judgment of October 9, 2007, at docket 19, is vacated.

        DONE AND ORDERED at Tampa, Florida, on April 8, 2008.



                                      s/Richard A. Lazzara
                                    RICHARD A. LAZZARA
                                    UNITED STATES DISTRICT JUDGE


 COPIES FURNISHED TO:
 Counsel of Record
